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22                               DISTRICT OF NEVADA

23
   STANLEY WILLIAM PAHER, TERRESA               Case No.:   3:20-cv-00243-MMD-WGC
24 MONROE-HAMILTON, GARRY
   HAMILTON, DARYL BYRON DESHAW,
25 JEFF ECKER, GARY GLADWILL, LINDA             INTERVENOR-DEFENDANTS’
   BARNETT, and NEVADA RIGHT TO LIFE,           OPPOSITION TO PLAINTIFFS’
26                                              SECOND MOTION FOR A
                        Plaintiffs,             PRELIMINARY INJUNCTION
27
              vs.
28
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 1 BARBARA CEGAVSKE, in her official
   capacity as Nevada Secretary of State,
 2 DEANNA SPIKULA, in her official capacity
   as Registrar of Voters for Washoe County, and
 3 JOSEPH P. GLORIA, in his official capacity as
   Registrar of Voters for Clark County,
 4
                                 Defendants,
 5
   and
 6
   NEVADA STATE DEMOCRATIC PARTY,
 7 DNC SERVICES
   CORPORATION/DEMOCRATIC
 8 NATIONAL COMMITTEE, DCCC,
   PRIORITIES USA, and JOHN SOLOMON,
 9
                                 Intervenor-
10                               Defendants.

11

12                                         INTRODUCTION
13          Confronting an unprecedented public health crisis, Defendants and other state and local
14 officials in Nevada have introduced plans—imperfect though they might be1—to expand access

15 to the ballot and ensure that eligible Nevadans can safely vote in the June 9, 2020 primary

16 election. Armed with little more than misapplied precedent, strained inferences, and tall tales of

17 voter fraud, Plaintiffs now attempt once again to derail Defendants’ plans and disenfranchise

18 Nevada voters. This Court correctly rejected Plaintiffs’ first motion for a preliminary injunction.

19 Neither Plaintiffs’ delayed second motion nor the amended complaint on which it is premised

20 have cured the legal and logical shortcomings that the Court previously identified. Instead,

21 Plaintiffs have opted to double down on their flawed reasoning and introduce myriad other issues

22 into their suit. Their second proposed injunction would cause a massive and wasteful disruption

23

24

25   1
     See, e.g., ECF No. 27, at 3–4 & n. 2, Ex. 3 (describing concurrent state court action challenging
26 Defendants’ plans for the June 9, 2020 primary election). Crucially, unlike Plaintiffs in this case,
   Intervenor-Defendants “do not object to Defendants’ expansion of vote by mail; indeed, the
27 current public health crisis necessitates that states allow voters to cast ballots without leaving
   their homes.” Id. at 3–4.
28

                                                     2
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 1 to Nevada’s plans to protect the electorate, and is not supported by the law or the facts.2

 2          For the reasons discussed in Intervenor-Defendants’ motion to dismiss, Plaintiffs lack

 3 standing, and each of their four causes of action fails to state a plausible claim upon which relief

 4 can be granted.3 For the reasons below, each of these claims also fails on the merits.

 5 Accordingly, and because the other equitable factors strongly militate against issuance of a

 6 preliminary injunction, the Court should once again deny Plaintiffs’ motion.

 7                                             BACKGROUND
 8          Much of the factual and procedural background relevant to this opposition is set forth in

 9 Intervenor-Defendants’ motion to dismiss. See Motion to Dismiss Plaintiffs’ Amended

10 Complaint (“MTD”), ECF No. 71, at 3–4; see also Order Denying Plaintiffs’ Motion for a

11 Preliminary Injunction (“Order”), ECF No. 57, at 2–6. Accordingly, this opposition will provide

12 a brief recitation of the relevant facts.

13          On March 24, 2020, Defendant Barbara Cegavske, the Nevada Secretary of State (the

14 “Secretary”)—along with Defendant Deanna Spikula, the Registrar of Voters for Washoe County

15 (the “Washoe Registrar”), Defendant Joseph P. Gloria, the Registrar of Voters for Clark County

16 (the “Clark Registrar”), and the election officials for Nevada’s 14 other counties and Carson

17 City—announced a plan to conduct the June 9, 2020 primary election (the “June Primary”)

18
     2
       To give just one example—and to highlight a factual distortion that pervades Plaintiffs’ entire
19
     motion and amended complaint—Plaintiffs emphatically claim that COVID-19 no longer poses a
20   threat to the public that justifies Defendants’ proactive steps to protect the electorate from the
     coronavirus pandemic. See Plaintiffs’ Second Preliminary-Injunction Motion, ECF No. 65, at 2–
21   3 (“The curve is flattening, the spread is being controlled, testing is increasing, the calculated
     death rate is lowering as tests show more people had mild cases, and total deaths are lower than
22   originally projected.”); Amended Verified Complaint, ECF No. 64, ¶¶ 70–81 (“Expanding mail
23   balloting is unnecessary to combat COVID-19.”). Intervenor-Defendants do not feel it is
     necessary to catalogue the manifold reasons why Plaintiffs’ blasé and cavalier characterization of
24   the public health crisis is not only inaccurate, but dangerous. See Transcript of Motion Hearing,
     ECF No. 70, at 4:4–8. Suffice it to say that Intervenor-Defendants are willing to provide
25   additional briefing on the ongoing threats posed by the pandemic should the Court require it.
     3
26   For the sake of efficiency, Intervenor-Defendants have chosen not to repeat their dismissal
   arguments verbatim in this opposition. Instead, Intervenor-Defendants incorporate those
27 arguments by reference, providing citations to their concurrently filed motion to dismiss where
   appropriate.
28

                                                     3
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 1 predominantly by mail, by mailing ballots to active voters without requiring them to first request

 2 absent ballots. See Amended Verified Complaint (“Am. Compl.”), ECF No. 64, ¶¶ 20, 21.

 3 Plaintiffs filed suit and a subsequent motion for preliminary injunction, both premised on the

 4 argument that Defendants lacked the authority to proactively mail ballots to voters under Nevada

 5 law.

 6          On April 30, this Court issued an order denying Plaintiffs’ initial motion for a

 7 preliminary injunction, concluding that “Plaintiffs have not established an injury particularized to

 8 them to confer standing,” and that even if they had standing, their “claims fail on the merits.”

 9 Order at 2. The Court also found that “the balance of equities favors Defendants and Intervenor-

10 Defendants and that injunction would not be in the public’s interest.” Id. at 10.

11          Subsequently, on May 4, the Clark Registrar announced a revised election plan for the

12 June Primary in a court document filed in Intervenor-Defendants’ state court action. Am. Compl.

13 ¶ 39. Among these revisions were the decisions to provide two additional in-person voting

14 locations and mail ballots to all registered voters, active and inactive alike. Id. The Clark

15 Registrar also plans to appoint field registrars to collect sealed ballots from voters. Id. ¶ 40.

16          Plaintiffs filed their amended complaint on May 13, 2020. See Am. Compl. In addition to

17 dropping two of their original causes of action, Plaintiffs include Count I, a recast of their

18 original Count II, which generally alleges a violations of the Nevada Legislature’s electoral

19 policies, compare Verified Complaint (“Compl.”), ECF No. 1, ¶¶ 45–49, with Am. Compl.

20 ¶¶ 97–102—but with the added allegation that voters will be directly disenfranchised as a result,

21 Am. Compl. ¶ 105. Plaintiffs also added a new cause of action, Count IV, which claims that the

22 Clark Registrar’s revised plans for Clark County voters violate the Equal Protection Clause of

23 the U.S. Constitution. See id. ¶¶ 123–28. These causes of action join two claims recycled from

24 Plaintiffs’ original complaint—Count II, a right to vote claim premised on purported vote

25 dilution, see id. ¶¶ 108–16, and Count III, which alleges a violation of the U.S. Constitution’s

26 Elections Clause, see id. ¶¶ 117–22.

27          Plaintiffs concurrently filed a second motion for a preliminary injunction, seeking “the

28 relief in the Amended Complaint’s Prayer for Relief.” See Plaintiffs’ Second Preliminary-

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 1 Injunction Motion (“Motion”), ECF No. 65, at 24. That requested relief includes an injunction

 2 from this Court ordering the following:

 3         That Defendants “notify every registered voter in every precinct and district by telephone
            and mail that the mailed ballot [received pursuant to Defendants’ plan for the June
 4          Primary] will not be counted as a valid ballot for the primary election if returned,” and
            that Defendants’ “conduct a public information campaign” to do the same, Am. Compl. at
 5
            25–26;
 6
           That Defendants require every voter to vote by absent ballot or in-person, id.;
 7
           That Defendants—the Clark Registrar in particular—administer “the primary election in
 8          accordance with the legislature’s prescribed manner and in conformity with the timely
            precinct and district designations,” id. at 25–26; and
 9

10         That the Clark Registrar cannot conduct the June Primary as previously announced, id. at
            26.
11

12                                         LEGAL STANDARD

13          “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

14 v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). The party requesting an injunction must

15 demonstrate (1) a likelihood of success on the merits, (2) a likelihood of irreparable harm absent

16 injunctive relief, (3) that the balance of equities tips in the party’s favor, and (4) that “an

17 injunction is in the public interest.” Id. at 20. The failure to state a claim for relief is ground for

18 denying a motion for preliminary injunction, see Villagrana v. Recontrust Co., N.A., No. 3:11-

19 cv-00652-ECR-WGC, 2012 WL 1890236, at *7 (D. Nev. May 22, 2012), as is a defect in the

20 plaintiff’s standing, see Vazquez v. Bank of Am. Home Loans, No. 2:10-CV-00116-PMP-RJJ,

21 2010 WL 3385347, at *1 (D. Nev. Aug. 23, 2010).

22                                             ARGUMENT

23 I.       Plaintiffs’ motion is procedurally improper.

24          As an initial matter, Plaintiffs’ motion is at least in part procedurally improper. Two of

25 the claims in Plaintiffs’ amended complaint (Counts II and III) are duplicative of causes of action

26 which this Court already considered when adjudicating Plaintiffs’ first motion for a preliminary

27 injunction: Count II, the vote dilution claim, and Count III, which alleges a violation of the U.S.

28 Constitution’s Elections Clause. Compare Am. Compl. ¶¶ 108–16, 117–22, and Motion 11–14,

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 1 18–21, with Compl. ¶¶ 36–44, 56–61, and ECF No. 2, at 3–16, 17–18. Plaintiffs’ second motion

 2 therefore attempts to relitigate issues that this Court already resolved—most significantly, the

 3 degree to which Defendants’ plans are consistent with the Nevada Legislature’s statutory

 4 schemes. See Order at 16–20.

 5          A second motion for a preliminary injunction is not the proper vehicle by which to rehear

 6 these previously decided issues—in other words, to take a second bite at the proverbial apple.

 7 Where a preliminary injunction motion relitigates issues, it is “aptly addressed as a motion for

 8 reconsideration.” Harris v. City of Clearlake, No. 17-cv-05126-YGR, 2018 WL 659015, at *4

 9 (N.D. Cal. Feb. 1, 2018). “A motion for reconsideration ‘should not be granted, absent highly

10 unusual circumstances,’ unless: (i) the movant presents the court newly discovered evidence;

11 (ii) the court committed clear error, or the initial decision was manifestly unjust; or (iii) there is

12 an intervening change in controlling law.” Langford v. Baker, No. 3:19-cv-00594-MMD-WGC,

13 2020 WL 265281, at *1 (D. Nev. Jan. 17, 2020) (quoting Nunes v. Ashcroft, 373 F.3d 805, 807

14 (9th Cir. 2004)). Because Plaintiffs have not even attempted to make this required showing, this

15 Court should deny the second motion to the extent that is seeks to reconsider claims and issues

16 already decided. See Harris, 2018 WL 659015, at *4.

17 II.      Plaintiffs cannot succeed on the claims alleged in their amended complaint.
18          A.      Plaintiffs cannot succeed on the merits of Count I.
19                  1.     Plaintiffs lack standing.
20          Plaintiffs must demonstrate Article III standing for each form of relief sought. Friends of

21 Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000). “[T]he irreducible

22 constitutional minimum of standing contains three elements.” Lujan v. Defs. of Wildlife, 504 U.S.

23 555, 560 (1992). “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable

24 to the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

25 judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).

26          As discussed at greater length in Intervenor-Defendants’ motion to dismiss, Plaintiffs

27 lack standing to bring this claim. See MTD at 67. Specifically, Plaintiffs lack standing because

28 they fail to connect the conduct they challenge—Defendants’ decision to proactively mail ballots

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 1 to voters in purported violation of Nevada law—with the injury they assert—disenfranchisement.

 2 Cf. Order at 10 n. 7 (“Even if the Court had concluded [] that there was a violation of Nevada

 3 law in the implementation of the all-mail provisions of the Plan, such as the Plan being untimely

 4 or otherwise ‘inconsistent’ with the intent of Nevada’s Legislature . . . the Court finds that

 5 Plaintiffs have not established a nexus between such alleged violations and the alleged injury of

 6 vote dilution.”).

 7                 2.      Count I fails to plausibly state a burden on the right to vote and
                           therefore fails on the merits.
 8

 9          Plaintiffs’ failure to establish a nexus between disenfranchisement (or any other burden

10 on the right to vote) and the proactive mailing of ballots also dooms Count I on the merits. See

11 MTD at 7–8. While Plaintiffs state repeatedly throughout their amended complaint and second

12 motion that Defendants’ decision to automatically mail ballots to voters will somehow result in

13 disenfranchisement, they do so only speculatively and without resolving the fundamental logical

14 puzzle that more votes will somehow result in less voting. Accordingly, they have not plausibly

15 pleaded, and certainly have not proven, that they or anyone else will have their right to vote

16 burdened.

17          Although cloaked in a claim of “direct disenfranchisement,” Count I is ultimately

18 premised on the same foundation as their original complaint: that the U.S. Constitution grants

19 Plaintiffs the right to have their (incorrect) reading of state law enforced by this Court. This

20 argument is at the core of Plaintiffs’ claim and pervades their second motion for a preliminary

21 injunction. See Motion at 2–6, 11–14, 18–19. They contend that “only the legislature may

22 lawfully balance ballot access and ballot fraud and prescribe the election manner, and it nowhere

23 authorized all-mail-in-ballot voting, but rather in-person voting with modest mail-in voting.”

24 Motion at 11. Defendants’ departure from these policies, Plaintiffs continue, “will cause [] direct

25 disenfranchisement” and other harms. Id. But the U.S. Constitution does not provide a vehicle to

26 enforce state election laws, see MTD at 7–8, and even if it did, Defendants’ plan to mail ballots

27 to voters is consistent with Nevada law, see MTD at 8–9, as this Court already concluded after

28 lengthy discussion, see Order at 16–20.

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 1          Because Plaintiffs have not proven that a switch from an absent voting system to a mail

 2 ballot system will burden anyone’s ability to vote, let alone their own, they cannot succeed on

 3 the merits of Count I under the Anderson-Burdick framework. Under Anderson-Burdick, a court

 4 “must first consider the character and magnitude of the asserted injury to the rights . . . that the

 5 plaintiff seeks to vindicate.” Short v. Brown, 893 F.3d 671, 676 (9th Cir. 2018) (alteration in

 6 original) (quoting Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)). Then, the court must

 7 weigh those interests against the state’s justification for the challenged policy, which must be

 8 “sufficiently weighty to justify the limitation.” Id. (quoting Norman v. Reed, 502 U.S. 279, 288–

 9 89 (1992)). As the Ninth Circuit explained in Short, states have a significant interest in mailing

10 ballots to voters to facilitate voting. Id. at 679. That interest is especially strong in the context of

11 a pandemic, and clearly outweighs the (nonexistent) burden on Plaintiffs.4

12          Absent allegations or evidence that give rise to the inference that Plaintiffs will suffer an
13 injury to their ability to vote, Plaintiffs cannot prevail on the merits of an Anderson-Burdick

14 claim. For this reason, and because Plaintiffs lack standing, Plaintiffs cannot succeed on the

15 merits of Count I.

16          B.      Plaintiffs cannot succeed on the merits of Count II.
17                  1.      Plaintiffs lack standing.
18          In denying Plaintiffs’ first motion for a preliminary injunction, this Court concluded that
19 Plaintiffs lacked standing to bring this cause of action:

20          Plaintiffs’ argument is difficult to track and fails to even minimally meet the first
            standing prong. The theory of Plaintiffs’ case, and which is the only alleged injury
21          driving all of their claims, is that the Plan will lead to an increase in illegal votes
            thereby harming them as rightful voters by diluting their vote. But Plaintiffs’
22
            purported injury of having their votes diluted due to ostensible election fraud may
23          be conceivably raised by any Nevada voter. Such claimed injury therefore does
            not satisfy the requirement that Plaintiffs must state a concrete and particularized
24          injury.
25

26   4
     As this Court correctly noted, “although Plaintiffs cloak their preference in a claim of voter
27 disenfranchisement, Defendants may equally claim that voters will be disenfranchised” if
   Defendants’ plans for the June Primary are blocked. Order at 13–14 (citation omitted).
28

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 1 Order at 9 (citation omitted). This conclusion still holds; although additional Plaintiffs have been

 2 added to the amended complaint, none remedies this fundamental shortcoming of Plaintiffs’

 3 action.

 4           This conclusion notwithstanding, Plaintiffs attempt to relitigate this finding, suggesting

 5 that they have standing on this claim because it is not a generalized grievance. See Motion at 19–

 6 21. But given that any standing argument they make is based on facts and arguments virtually

 7 identical to those that this Court already considered, Plaintiffs may not seek reconsideration of

 8 this Court’s conclusion without first making the threshold showing discussed in Part I supra.

 9 Moreover, as discussed in Intervenor-Defendants’ motion to dismiss, Plaintiffs continue to lack

10 standing to bring this claim. See MTD at 9–10.

11                  2.      Count II fails as a matter of law.
12           Count II fails to state a claim upon which relief can be granted for three reasons. First, as

13 discussed in Part II.A.2 supra, Plaintiffs cannot use the U.S. Constitution as a vehicle to enforce

14 state election laws. See MTD at 10; see also id. at 7–8. Second, Plaintiffs cite no authority—and,

15 indeed, none exists—that applies the theory of vote dilution as a weapon to make it more

16 difficult for other citizens to vote, based entirely on unfounded and speculative fears of voter

17 fraud. Cf. Short, 893 F.3d at 677–78 (“Nor have the appellants cited any authority explaining

18 how a law that makes it easier to vote would violate the Constitution.”). Because Plaintiffs have

19 not articulated a viable legal theory of vote dilution, they cannot succeed on the merits of Count

20 II. See MTD at 10–11. And third, as this Court has already held, Defendants’ decision to mail

21 ballots to registered voters in Nevada is explicitly countenanced by Nevada statute. See Order at

22 16–20; see also MTD at 10; see also id. at 8–9.

23                  3.      Count II fails on the merits.
24           Even if the Court were to reach the merits, Count II has no likelihood of success because

25 Plaintiffs’ claim of vote dilution based on the potential for voter fraud is both legally and

26 factually unfounded, and outweighed by the State’s compelling interest in expanding access to

27 mail voting in the midst of a pandemic.

28

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 1          This Court already reached that conclusion. See Order at 11–14. In particular, the Court

 2 correctly observed that “Plaintiffs’ overarching theory that having widespread mail-in votes

 3 makes the Nevada election more susceptible to voter fraud seems unlikely where the Plan

 4 essentially maintains the material safeguards to preserve election integrity.” Id. at 13–14.

 5 Nothing identified in the amended complaint or second motion changes this result. Count II still

 6 relies on the same flawed premise; Plaintiffs still “cloak their preference in a claim of voter

 7 disenfranchisement,” Order at 14, and Plaintiffs still lack compelling evidence that Defendants’

 8 plans will increase the risk of voter fraud for the June Primary.5 (For these reasons, as discussed

 9 in Part I supra, it is procedurally improper for Plaintiffs to seek reconsideration of the Court’s

10 earlier decision.)

11          The one arguably compelling piece of new evidence provided by Plaintiffs is the

12 declaration of a Clark County resident, in which he attests that he has seen discarded ballots near

13 his home. See Motion at 9; Am. Compl., Ex. O. But the mere existence of these ballots does not

14 lead to the conclusion that they will be fraudulently cast, especially given, as this Court

15 previously noted, that “the material safeguards to preserve election integrity” will remain in

16 place for the June Primary. Order at 14. The second motion also introduces articles and studies

17 relating to purported voting irregularities, see, e.g., Motion at 7–8, but none of this additional

18 evidence meaningfully changes or improves the showing that Plaintiffs already made—and this

19 Court already rejected.

20          In short, neither new evidence nor new inferences change this Court’s conclusion that

21 Plaintiffs’ “claim of voter fraud is without any factual basis.” Order at 12. Plaintiffs have not

22 martialed stronger evidence to support their claims, and their allegations remain as speculative as

23 before. The Court should therefore conclude once again that Plaintiffs have failed to produce

24

25   5
     Most of the evidence Plaintiffs muster to support their farfetched allegations of widespread
26 fraud consists of articles and editorials, some decades old, taken out of context and packaged as a
   coherent theory. See Motion at 6–8; Am. Compl. ¶¶ 81–96. But this is essentially the same
27 collection of articles of which the Court was rightfully skeptical when ruling on Plaintiffs’ first
   motion. See Order at 12 n. 10.
28

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 1 evidence tying mail ballots to increased voter fraud. Because Plaintiffs have not established a

 2 plausible burden on their right to vote, they cannot maintain an Anderson-Burdick claim, see Part

 3 II.A.2 supra, and so Count II fails on the merits.

 4          C.     Plaintiffs cannot succeed on the merits of Count III.
 5                 1.      Plaintiffs lack standing.
 6          For the same reasons that Plaintiffs lack standing to bring Counts I and II, they have no

 7 standing to assert Count III. See MTD at 12; see also id. at 9–10; Order at 8–9.

 8                 2.      Count III fails to plead a cognizable cause of action.
 9          Count III, invoking the U.S. Constitution’s Elections Clause, is identical to a claim in

10 Plaintiffs’ original complaint that this Court already rejected. See Order at 20. Most

11 significantly—and ultimately fatally—Plaintiffs do not and cannot produce any authority

12 establishing a private right of action under this provision. Cf. U.S. House of Representatives v.

13 Burwell, 130 F. Supp. 3d 53, 78 (D.D.C. 2015) (noting private citizens generally lack power to

14 “deputiz[e] themselves in an effort to enforce federal law”). In the absence of a cognizable

15 federal cause of action, Plaintiffs cannot succeed on the merits of Count III. See MTD at 11–12.

16                 3.      Count III is based on the incorrect assumption that Defendants’ plans
                           violate Nevada law.
17

18          Additionally, Count III is premised on Plaintiffs’ contention that Defendants’ plans “are

19 contrary to the legislative mandate.” Motion at 21. But this Court already concluded—

20 correctly—that Defendants’ plans are consistent with state law. See Order at 16–20; see also

21 MTD at 12; see also id. at 8–9. Count III therefore fails.

22          D.     Plaintiffs cannot succeed on the merits of Count IV.

23          Count IV alleges that the actions taken by the Clark Registrar to make it easier for Clark

24 County voters to cast ballots infringe on the equal protection rights of voters living in other

25 counties. See Motion at 21–23. But as discussed at greater length in Intervenor-Defendants’

26 motion to dismiss, see MTD at 10; see also id. at 7–8, the U.S. Constitution does not provide a

27 cause of action to make it harder for other people to vote. See Short, 893 F.3d at 677–78

28 (rejecting equal protection claim where plaintiffs had not shown that challenged policy “will

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 1 prevent anyone from voting” or “cited any authority explaining how a law that makes it easier to

 2 vote would violate the Constitution”). Indeed, on the pleadings and on the merits, Count IV is

 3 squarely foreclosed by the Ninth Circuit’s opinion in Short, which rejected a nearly identical

 4 effort by voters of one county to challenge the decision to proactively mail ballots to voters in

 5 other counties under a theory of vote dilution. See id.

 6          Here, as in Short, Plaintiffs have failed to put forth any evidence that the Clark County

 7 policies they challenge—namely, the appointment of field registrars and the proactive mailing of

 8 ballots to registered voters with both active and inactive statuses—make it harder for anyone to

 9 vote, let alone themselves. See id. at 677. Because they make voting easier, and because being a

10 citizen of another county is not a suspect classification, the challenged policies need only be

11 rationally related to a legitimate government purpose to withstand equal protection scrutiny. See

12 id. at 677–79. In Short, the Ninth Circuit readily concluded that a state’s interest in increasing

13 voter turnout more than justified allowing some counties to experiment with ways to make

14 voting easier. See id. at 679. And Short took place outside of the context of a pandemic, one that

15 necessitates new methods to hold a safe election.

16          Even under normal conditions, Count IV would be foreclosed by Short. But given the

17 novel and exceptional circumstances posed by the current health crisis, Plaintiffs cannot possibly

18 argue that the Clark Registrar’s additional election policies fail rational basis review. Count IV

19 therefore fails on the merits.

20 III.     The balance of harms weighs strongly against Plaintiffs’ requested injunction.
21          Plaintiffs contend that they will suffer irreparable harm “if the Plans proceed and the

22 election is held in violation of Plaintiffs’ constitutional rights.” Motion at 23. The cases they cite

23 do indeed stand for the proposition that abridgement of the right to vote constitutes an irreparable

24 harm. See League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir.

25 2014); Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1258 (N.D. Fla. 2016). But

26 Plaintiffs have not actually demonstrated that their right to vote will be curtailed or obstructed by

27 Defendants’ plans for the June Primary. Their claims of disenfranchisement are wholly

28 speculative, and they continue to litigate against a mere apparition of voter fraud. There is simply

                                                     12
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 1 no evidence that Plaintiffs will not be able to cast a ballot in the June Primary, or that their

 2 constitutional rights will otherwise be violated simply because more Nevadans will have a

 3 meaningful opportunity to vote.

 4          By striking contrast, enjoining Defendants’ plans for a predominantly vote by mail

 5 election would have a devastating impact on Nevadans’ opportunities to participate meaningfully

 6 in the June Primary. Defendants’ decision to proactively mail ballots is a necessary response to a

 7 public health crisis that severely limits the freedom of movement. Whether by necessity or

 8 choice, many Nevadans will continue to exercise social distancing and remain sheltered in their

 9 homes for the foreseeable future, thus necessitating the ability to vote by mail.6 Without the

10 ability to cast mail ballots, these voters—denied the opportunity to vote by mail and unable or

11 unwilling to risk voting in person—will be effectively disenfranchised. Enjoining Defendants’

12 plans for vote by mail will not prevent any harms to Plaintiffs—their supposed harms are,

13 ultimately, imaginary—but will indisputably disenfranchise Nevada voters who are otherwise

14 unable to cast ballots in the June Primary.

15          Significantly, in ruling on Plaintiffs’ first motion for a preliminary injunction, this Court

16 found that the balance of harms militated against granting an injunction even if Plaintiffs’

17 claimed harms were legitimate:

18          [E]ven accepting Plaintiffs’ purported harm to them of being disenfranchised due
            to vote dilution, such disenfranchisement could be, even more concretely, claimed
19          in the absence of the Plan (and additionally by confusion that may result by the
            Court enjoining the Plan, and appeal—which would surely follow). The Court
20
            therefore concludes that, at minimum, the Plan’s all-mail election implementation
21          to protect the public during a public health crisis tips the scale of equity in favor
            of Defendants and Intervenor-Defendants (i.e., against the issuance of an
22          injunction).
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     As Intervenor-Defendants previously noted, it is unsurprising that a host of other states have
26 also chosen to increase their uses of vote by mail in response to the pandemic. See, e.g., Zach
   Montellaro & Laura Barrón-López, States Rush to Prepare for Huge Surge of Mail Voting,
27 Politico (Apr. 25, 2020), https://www.politico.com/news/2020/04/25/states-mail-voting-surge-
   207596.
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 1 Order at 23. Nothing in Plaintiffs’ second motion changes this result. The balance of harm

 2 therefore weighs strongly against granting injunctive relief.

 3 IV.      The public interest weighs heavily against the requested injunction.
 4          Plaintiffs’ public interest argument is premised on two claims: (1) that Plaintiffs and

 5 numerous other voters will be disenfranchised as a result of Defendants’ plans for the June

 6 Primary, and (2) that the current health crisis no longer warrants preventative measures to protect

 7 the electorate. See Motion at 23–24. Plaintiffs’ first contention is, as discussed above, wholly

 8 speculative and grounded in neither the law nor the facts. And the second contention betrays a

 9 fundamental misunderstanding of the ongoing pandemic.

10          As this Court previously concluded, “[i]t is clear that as triggered by the uncertainties of

11 COVID-19, the public’s interests align with the Plan’s all-mail election provisions.” Order at 23.

12 Despite Plaintiffs’ reassuring timbre, it remains true that “an injunction precluding Defendants’

13 use of mail ballots in the June 9, 2020 Primary would put Nevadans at risk.” Id. It would also

14 deny countless Nevadans the opportunity to cast a ballot, which is decidedly against the public

15 interest. See, e.g., League of Women Voters, 769 F.3d at 247 (“By definition, ‘[t]he public

16 interest . . . favors permitting as many qualified voters to vote as possible.’” (alterations in

17 original) (quoting Obama for Am. v. Husted, 697 F.3d 423, 437 (6th Cir. 2012))). This includes

18 not only Intervenor-Defendant John Solomon, but all eligible Nevadans who, by choice or

19 necessity, cannot timely request an absent ballot or vote in person for the June Primary. See

20 League of Wilderness Defs./Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d 755,

21 766 (9th Cir. 2014) (“The public interest inquiry primarily addresses impact on non-parties rather

22 than parties.” (quoting Sammartano v. First Judicial Dist. Court, 303 F.3d 959, 974 (9th Cir.

23 2002))). All of these voters would suffer disenfranchisement if Plaintiffs receive their requested

24 injunctive relief. By contrast, the public interest would most assuredly be ill-served if Plaintiffs’

25 injunction were granted and voters’ constitutional rights were violated to safeguard against the

26 imagined specter of voter fraud, especially given that Nevada law already provides numerous

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 1 safeguards to preserve the integrity of elections.7 The public interest therefore continues to

 2 counsel against granting Plaintiffs’ proposed relief.

 3 V.       This Court should not grant Plaintiffs’ injunction given the widespread disruption it
            would cause for Nevada election officials and voters.
 4

 5          In their original complaint, Plaintiffs asserted a claim based on the U.S. Supreme Court’s

 6 decision in Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam). See Compl. ¶¶ 50–55. Though

 7 Plaintiffs have abandoned Purcell, this Court should not follow suit, as the Supreme Court’s

 8 admonition against a federal court’s unwarranted intrusion into a state’s election practices

 9 strongly counsels against granting the relief Plaintiffs seek in this case.8

10          Purcell and its progeny generally stand for the proposition that federal courts should

11 refrain from altering or enjoining a state’s election rules under certain circumstances. See 549

12 U.S. at 5–6; see also Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205,

13 1207 (2020) (“This Court has repeatedly emphasized that lower federal courts should ordinarily

14 not alter the election rules on the eve of an election.”); Republican Party of Pa. v. Cortés, 218 F.

15 Supp. 3d 396, 405 (E.D. Pa. 2016) (“Federal intervention at this late hour risks ‘a disruption in

16 the state electoral process [which] is not to be taken lightly.’ ‘This important equitable

17 consideration goes to the heart of our notions of federalism.’” (alteration in original) (citation

18 omitted) (quoting United States v. City of Philadelphia, No. 2:06cv4592, 2006 WL 3922115, at

19 *2 (E.D. Pa. Nov. 7, 2006))). This principle is particularly pertinent where plaintiffs ask courts to

20 “impose large-scale changes to the election process.” Bryan v. Fawkes, 61 V.I. 416, 469 (2014)

21

22   7
     It is, for example, already a felony in Nevada to “fraudulently [] request an absent ballot in the
23 name     of another person,” N.R.S. 293.313(4); threaten, intimidate, coerce, or exercise undue
   influence on any voter, N.R.S. 293.710(1)(a)–(c); impede or prevent a voter from voting, N.R.S.
24 293.710(1)(d); “vote[] or attempt[] to vote using the name of another person,” N.R.S.
   293.775(2); or “attempt to vote more than once at the same election,” N.R.S. 293.780(1).
25 8
      Plaintiffs no longer assert an independent cause of action premised on Purcell. They do,
26 however, suggest in a footnote that Defendants have committed “a Purcell principle violation.”
   Motion at 13 n. 16. But as Intervenor-Defendants discussed in their opposition to Plaintiffs’ first
27 motion for a preliminary injunction, Purcell does not bar state election officials from altering or
   amending their own election rules. See ECF No. 27-1 at 10–11.
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 1 (collecting cases).

 2          Here, the relief Plaintiffs seek would serve to dramatically upend Defendants’ plans for

 3 the June Primary. As Plaintiffs themselves have observed, Defendants have already dispatched

 4 mail ballots to eligible voters. See, e.g., Am. Compl. ¶ 41 (“Mail ballots to active, registered

 5 voters went out on May 6, 2020); id. ¶¶ 13–14 (Plaintiffs Gladwill and Barnett “voted by mail”);

 6 ECF No. 3 at 2 (“Defendants intend to send out mail-in ballots before May 15, 2020.”).

 7 Incredibly, Plaintiffs now urge this Court to issue an injunction requiring Defendants to

 8 disregard the mail ballots that have already been sent to voters, Am. Compl. at 25—a

 9 particularly insidious suggestion that would undoubtedly sow confusion among Nevada voters

10 and, as this Court has already concluded, disenfranchise those who have so far followed

11 Defendants’ instructions for the June Primary. See Order at 23 (concluding that

12 disenfranchisement would result from the “confusion that may result by the Court enjoining the

13 Plan”). Plaintiffs also seek a massive public information campaign to notify “every registered

14 voter” of the changes Plaintiffs seek, and to undo the Clark Registrar’s additional plans that were

15 enacted this month to increase voting opportunities for eligible Clark County voters. See id. at

16 25–26 (emphasis added).

17          In short, Plaintiffs seek a sudden, disruptive, and unjustified volte-face, one that would

18 require tremendous expenditures of resources by state and county officials.9 Granting such relief

19 would not only upset the basic notions of comity and federalism that undergird Purcell, but also

20 “result in the very type of confusion that Purcell cautions against.” Order at 23. This Court

21 should therefore decline to grant relief that would radically interfere with the June Primary and

22 cause confusion and disenfranchisement for Nevada voters.

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27     A curious twist, given Plaintiffs’ ostensible concern with the monetary costs of Defendants’
     plans for the June Primary. See, e.g., Motion at 8 n. 9; Am. Compl. ¶¶ 42–43, 45.
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 1                                        CONCLUSION
 2        For the foregoing reasons, Plaintiffs’ second motion for a preliminary injunction should
 3 be denied.

 4        DATED this 20th day of May, 2020

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 1                                  CERTIFICATE OF SERVICE
 2         I hereby certify that on this 20th day of May, 2020 a true and correct copy of

 3 INTERVENOR-DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ SECOND MOTION

 4 FOR A PRELIMINARY INJUNCTION was served via the United States District Court’s

 5 CM/ECF system on all parties or persons requiring notice.

 6

 7                                          By: /s/ Dannielle Fresquez
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